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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 MICHAEL C. STERNBERG,                                   Case No.: 2:23-cv-01466-APG-EJY

 4          Plaintiff                                  Order (1) Granting Plaintiff’s Motion for
                                                          Reconsideration and (2) Denying
 5 v.                                                  Warneck’s anti-SLAPP Motion to Dismiss

 6 SHELLEY WARNECK, et al.,                                        [ECF Nos. 124, 279]

 7          Defendants

 8         Plaintiff Michael Sternberg moves for reconsideration of my order granting in part

 9 defendant Shelley Warneck’s motion under Nevada’s anti-SLAPP law. I denied Warneck’s anti-

10 SLAPP motion with respect to Sternberg’s civil conspiracy claim. ECF No. 270 at 24. But I

11 granted it with respect to Sternberg’s abuse of process claim. Id. at 26-27.

12         Sternberg moves to reconsider, arguing that he “inadvertently focused on requesting

13 discovery rather than presenting a prima facie case of Warneck’s wrongdoing.” ECF No. 279 at

14 1-2. He contends that he has evidence that Warneck’s statements were not in good faith, but

15 rather were part of an intentional scheme to manipulate the judicial process to prolong her

16 wrongful relocation of their children out of Nevada.

17         Warneck responds that Sternberg’s evidence is irrelevant because I was “required to

18 apply the standards of a [Federal Rule of Civil Procedure] 12(b)(6) motion” when considering

19 her anti-SLAPP motion, so I could not consider his “extrinsic evidence.” ECF No. 283 at 2. She

20 argues that to the extent Sternberg offers evidence to rebut her declaration regarding good faith,

21 Sternberg had all the evidence he now seeks to provide the court, so it is not newly discovered

22 evidence to support reconsideration. Warneck argues that Sternberg’s strategic decision to focus

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 1 on requesting discovery rather than challenging Warneck’s motion on the merits is not grounds

 2 for reconsideration.

 3         For the reasons discussed below, I reconsider my prior order granting Warneck’s anti-

 4 SLAPP motion. Because Warneck attached evidence to her anti-SLAPP motion, it must be

 5 treated as one for summary judgment, yet Warneck argued for a motion to dismiss standard.

 6 Doing so may have led Sternberg, particularly as a pro se litigant, to not understand that he could

 7 challenge Warneck’s good faith with evidence. Additionally, because Warneck did not mention

 8 the summary judgment standard in her motion, Sternberg may not have understood the need to

 9 address his request for discovery under Rule 56 and related federal caselaw. And I should have

10 applied that law instead of Nevada’s anti-SLAPP rules on discovery. Accordingly, I reconsider

11 my prior decision on Warneck’s anti-SLAPP motion and now address it anew under the

12 summary judgment standard.

13         Under that standard, genuine disputes remain about whether Warneck made false

14 statements in court and gave Sternberg a different version of a document than the one she filed in

15 court, which allegedly contained a falsehood. She therefore fails at step one of the anti-SLAPP

16 analysis for the aspects of Sternberg’s claims that rely on false statements to the court. As for

17 Sternberg’s allegations that Warneck made false statements to law enforcement, he should be

18 permitted discovery before a final ruling on that issue. I therefore deny Warneck’s anti-SLAPP

19 motion.

20 I. LEGAL STANDARD

21         A district court “possesses the inherent procedural power to reconsider, rescind, or

22 modify an interlocutory order for cause seen by it to be sufficient,” so long as it has jurisdiction.

23 City of L.A., Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001)



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 1 (quotation and emphasis omitted); see also Moses H. Cone Mem’l Hosp. v. Mercury Constr.

 2 Corp., 460 U.S. 1, 12 (1983); Fed. R. Civ. P. 54(b). The party requesting reconsideration must

 3 show “(1) some valid reason why the court should revisit its prior order; and (2) facts or law of a

 4 ‘strongly convincing nature’ in support of reversing the prior decision.” USF Ins. Co. v. Smith’s

 5 Food & Drug Ctr., Inc., 2013 WL 4458776, at *1 (D. Nev. Aug. 16, 2013); see also LR 59-1(a)

 6 (“A party seeking reconsideration under this rule must state with particularity the points of law

 7 or fact that the court has overlooked or misunderstood.”). Similar to a Rule 59(e) motion, “a

 8 motion for reconsideration should not be granted, absent highly unusual circumstances, unless

 9 the district court is presented with newly discovered evidence, committed clear error, or if there

10 is an intervening change in the controlling law.” Kona Enters., Inc. v. Estate of Bishop, 229 F.3d

11 877, 890 (9th Cir. 2000) (quotation omitted); see also LR 59-1(a). A reconsideration motion

12 “may not be used to raise arguments or present evidence for the first time when they could

13 reasonably have been raised earlier in the litigation.” Kona Enters., Inc., 229 F.3d at 890

14 (emphasis omitted).

15 II. ANALYSIS

16         A. Standards For a Nevada Anti-SLAPP Motion in Federal Court

17         “A SLAPP suit is a meritless lawsuit that a party initiates primarily to chill a defendant’s

18 exercise of his or her First Amendment free speech rights.” Stubbs v. Strickland, 297 P.3d 326,

19 329 (Nev. 2013) (en banc). “Nevada’s anti-SLAPP statutes provide defendants with a

20 procedural mechanism whereby they may file a special motion to dismiss the meritless lawsuit

21 before incurring significant costs of litigation.” Stark v. Lackey, 458 P.3d 342, 344-45 (Nev.

22 2020) (en banc). Nevada’s anti-SLAPP statute sets out “a two-prong analysis to determine the

23 viability of a special motion to dismiss.” Id. at 345. “First, the district court must determine



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 1 whether the moving party has established, by a preponderance of the evidence, that the claim is

 2 based upon a good faith communication in furtherance of the right to petition or the right to free

 3 speech in direct connection with an issue of public concern.” Id. (simplified); Nev. Rev. Stat.

 4 (NRS) § 41.660(3)(a). “Second, if the district court finds the defendant has met his or her

 5 burden, the court must then ‘determine whether the plaintiff has demonstrated with prima facie

 6 evidence a probability of prevailing on the claim.’” Id. (quoting NRS § 41.660(3)(b)).

 7          Step one of this analysis is itself comprised of two components. First, the movant must

 8 show “that the comments at issue fall into one of the four categories of protected

 9 communications enumerated in NRS 41.637.” Id. Second, the movant must show “that the

10 communication ‘is truthful or is made without knowledge of its falsehood.’” Id. (quoting NRS

11 § 41.637).

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            “The degree to which [state] anti-SLAPP provisions are consistent with the Federal Rules
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     of Civil Procedure has been hotly disputed.” Herring Networks, Inc. v. Maddow, 8 F.4th 1148,
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     1155 (9th Cir. 2021) (quotation omitted). In addressing a motion brought under California’s
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     anti-SLAPP law, the Ninth Circuit stated that:
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            [r]equiring a presentation of evidence without accompanying discovery would
17          improperly transform the motion to strike under the anti-SLAPP law into a motion
            for summary judgment without providing any of the procedural safeguards that
18          have been firmly established by the Federal Rules of Civil Procedure. That result
            would effectively allow the state anti-SLAPP rules to usurp the federal rules. We
19          could not properly allow such a result.

20 Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 833-34 (9th Cir.

21 2018), amended, 897 F.3d 1224 (9th Cir. 2018). Planned Parenthood resolved the issue with

22 respect to California’s anti-SLAPP law by adopting the rule that:

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            when an anti-SLAPP motion to strike challenges only the legal sufficiency of a
            claim, a district court should apply the Federal Rule of Civil Procedure 12(b)(6)

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 1            standard and consider whether a claim is properly stated. And, on the other hand,
              when an anti-SLAPP motion to strike challenges the factual sufficiency of a
 2            claim, then the Federal Rule of Civil Procedure 56 standard will apply. But in
              such a case, discovery must be allowed, with opportunities to supplement
 3            evidence based on the factual challenges, before any decision is made by the
              court. A contrary reading of these anti-SLAPP provisions would lead to the stark
 4            collision of the state rules of procedure with the governing Federal Rules of Civil
              Procedure while in a federal district court.
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 6 890 F.3d at 834; see also Gunn v. Drage, 65 F.4th 1109, 1120 (9th Cir. 2023) (holding that the

 7 Planned Parenthood “rules for anti-SLAPP motions to strike apply in federal court regardless of

 8 whether a plaintiff challenges the first or second step of the anti-SLAPP analysis,” and courts

 9 may “rely on extrinsic evidence whether the challenge is as to the first step, the second step, or

10 both steps”).

11            The Ninth Circuit has not addressed whether the Planned Parenthood rules apply to

12 Nevada’s anti-SLAPP statute, which differs in several respects from California’s. For example,

13 California does not require the defendant filing an anti-SLAPP motion to show at step one that

14 the protected conduct was truthful or without knowledge of its falsehood at all, much less by a

15 preponderance of the evidence like Nevada does. Compare Cal. Civ. Proc. Code § 425.16 with

16 Nev. Rev. Stat. §§ 41.637, 41.660(3)(a). And although the Supreme Court of Nevada stated in a

17 published opinion that “[a]s amended, the special motion to dismiss again functions like a

18 summary judgment motion procedurally,” 1 it has receded from that statement in several

19 unpublished decisions, at least with respect to step one. 2 To the extent the Nevada statute creates

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         Coker v. Sassone, 432 P.3d 746, 748 (Nev. 2019).
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     2
     Lee v. Liu, No. 84442, 542 P.3d 429, 2024 WL 463955, at *1 n.3 (Nev. Feb. 6, 2024) (stating
22 the district court “recognized the appropriate preponderance of the evidence standard under NRS
   41.660” for step one); Omerza v. Fore Stars, Ltd, 455 P.3d 841, No. 76273, 2020 WL 406783, at
23 *2 n.5 (Nev. Jan. 23, 2020) (“To the extent that the district court focused on the existence of a
   genuine issue of material fact in determining that appellants did not meet their step-one burden
   on the good faith component, we conclude that the court erred, as the anti-SLAPP burdens and
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 1 a procedure whereby the judge makes a finding by a preponderance of the evidence at step one,

 2 that would directly collide with Federal Rules of Civil Procedure 12 and 56. Judges make no

 3 such findings by a preponderance of the evidence under either rule when deciding whether a

 4 plaintiff’s claim can proceed in federal court. Consequently, I conclude the Ninth Circuit would

 5 apply the Planned Parenthood and Gage analyses to Nevada’s anti-SLAPP statute such that the

 6 motions should be considered as motions to dismiss if they are legal attacks and motions for

 7 summary judgment if they are factual attacks.

 8         The Nevada anti-SLAPP statute also collides with the Federal Rules related to discovery.

 9 In my prior order, I looked to Nevada’s anti-SLAPP law on when to allow discovery in response

10 to an anti-SLAPP motion because “Warneck cite[d] no authority for the proposition that Rule

11 56(d) applies” in the anti-SLAPP context. ECF No. 270 at 25. But the Ninth Circuit has found

12 that the discovery rules in California’s anti-SLAPP law do not apply in federal court. See

13 Metabolife Int’l, Inc. v. Wornick, 264 F.3d 832, 846 (9th Cir. 2001). The Ninth Circuit would

14 almost certainly reach the same conclusion with respect to Nevada’s anti-SLAPP statute. Thus, I

15 should have referred to Rule 56(d) and related federal caselaw, and not the Nevada statute, in

16 determining whether to allow Sternberg discovery before ruling on Warneck’s anti-SLAPP

17 motion.

18
   the summary-judgment burdens are substantively different” and “at step one, the summary-
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   judgment standard is incompatible with the burden set forth in NRS 41.660(3)(a).”). For step
   two, the Nevada Legislature specifically states in the statute that “in determining whether the
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   plaintiff ‘has demonstrated with prima facie evidence a probability of prevailing on the claim’
   the plaintiff must meet the same burden of proof that a plaintiff has been required to meet
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   pursuant to California’s anti-Strategic Lawsuits Against Public Participation law as of June 8,
   2015.” Nev. Rev. Stat. § 41.665(2). In June 2015, California’s anti-SLAPP statute stated that the
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   plaintiff had to establish “that there is a probability that the plaintiff will prevail on the claim.”
   Cal. Civ. Proc. Code § 425.16 (2015). The Supreme Court of California “described this second
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   step as a summary-judgment-like procedure.” Baral v. Schnitt, 376 P.3d 604, 608 (Cal. 2016)
   (quotation omitted).

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 1          Regardless of the difficulties that applying Nevada’s anti-SLAPP statute poses in federal

 2 court, it suffices here to say that Warneck cannot simultaneously assert that her motion should be

 3 resolved under Rule 12(b)(6), contend that I should nevertheless consider her declaration, and

 4 then fault Sternberg for not coming forward with evidence of her alleged falsehoods when he

 5 responded to her original motion. Warneck’s opposition to reconsideration states that the

 6 “required” standard to apply to her motion is Rule 12(b)(6), so I should not consider any

 7 evidence beyond the first amended complaint’s (FAC) allegations. ECF No. 283 at 2. But, as

 8 Sternberg points out, that means I should not have considered Warneck’s declaration that she

 9 attached to her anti-SLAPP motion.3 Warneck states that she submitted her declaration “only to

10 satisfy [her] burden of proving that [her] alleged conduct and statements were made in ‘good

11 faith’” and not to “contest the accuracy of any factual allegations” in the FAC. ECF No. 124-1 at

12 3. But by denying she made false statements to the court and law enforcement, she contested the

13 accuracy of the FAC’s allegations.

14          “If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are presented

15 to and not excluded by the court, the motion must be treated as one for summary judgment under

16 Rule 56. All parties must be given a reasonable opportunity to present all the material that is

17 pertinent to the motion.” Fed. R. Civ. P. 12(d). I considered Warneck’s affidavit in ruling on the

18 motion, so I converted it into one for summary judgment by doing so. See ECF No. 270 at 25.

19 But I conclude that Sternberg did not have sufficient notice that would happen because

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     Akhtar v. Mesa, 698 F.3d 1202, 1212 (9th Cir. 2012) (stating that in reviewing a motion to
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   dismiss under Rule 12(b)(6), courts “consider only allegations contained in the pleadings,
   exhibits attached to the complaint, and matters properly subject to judicial notice” (quotation
22
   omitted)); Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (stating that a court may
   also consider documents that are not physically attached to the complaint “if the documents’
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   authenticity is not contested and the plaintiff’s complaint necessarily relies on them”
   (simplified)).

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 1 Warneck’s motion does not mention summary judgment or its standards. ECF No. 124. And I

 2 also did not give Sternberg advance warning. Accordingly, I must give Sternberg a reasonable

 3 opportunity to present summary judgment materials to respond, which he has done in his motion

 4 for reconsideration. I therefore now address Warneck’s anti-SLAPP motion under those

 5 standards.

 6         B. Summary Judgment

 7         Summary judgment is appropriate if the movant shows “there is no genuine dispute as to

 8 any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

 9 56(a). A fact is material if it “might affect the outcome of the suit under the governing law.”

10 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is genuine if “the evidence

11 is such that a reasonable jury could return a verdict for the nonmoving party.” Id.

12         The party seeking summary judgment bears the initial burden of informing the court of

13 the basis for its motion and identifying those portions of the record that demonstrate the absence

14 of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The

15 burden then shifts to the non-moving party to set forth specific facts demonstrating there is a

16 genuine issue of material fact for trial. Sonner v. Schwabe N. Am., Inc., 911 F.3d 989, 992 (9th

17 Cir. 2018) (“To defeat summary judgment, the nonmoving party must produce evidence of a

18 genuine dispute of material fact that could satisfy its burden at trial.”). I view the evidence and

19 reasonable inferences in the light most favorable to the non-moving party. Zetwick v. Cnty. of

20 Yolo, 850 F.3d 436, 440-41 (9th Cir. 2017).

21                 1. Statements to Court

22         In the FAC’s abuse of process claim, Sternberg alleged that Warneck made false

23 statements to the court and served him with different versions of documents than what she filed



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 1 with the court. ECF Nos. 86-3 at 4-6; 86-4 at 1. Viewing the facts in the light most favorable to

 2 Sternberg, a reasonable jury could find that Warneck made false statements to the court in the

 3 custody proceedings. Sternberg has presented evidence that Warneck represented to the court

 4 that (1) she was and always had been a California resident and (2) the children’s relocation from

 5 California to Nevada was temporary. ECF No. 279-2 at 92. 4 A reasonable jury could find these

 6 statements were knowingly false. Warneck filled out a Nevada voter registration form, which

 7 required her to sign, under penalty of perjury, that Nevada was her “sole legal place of residence

 8 and [she] claim[ed] no other place as [her] legal residence.” ECF Nos. 279-2 at 107, 117; 279-3

 9 at 19. Additionally, Sternberg has presented evidence that contrary to what she represented to

10 the court, Warneck had agreed that the children could stay in Las Vegas “forever” (or at least

11 through the eighth grade), and not merely on a temporary basis. ECF Nos. 279-2 at 135-42; 279-

12 3 at 8-9.

13         Sternberg has also presented evidence from which a reasonable jury could find that

14 Warneck, through her attorney, served him with a different version of a document than what was

15 filed with the court. ECF No. 279-2 at 4-5, 8-36, 37-67, 82. A reasonable jury could find that

16 those versions differed because the version served on Sternberg did not include some exhibits

17 that were provided to the court, including an email in which Sternberg had previously agreed to

18 receive service by email. Sternberg has presented evidence from which a reasonable jury could

19 find that before Warneck’s attorney filed the motion with the court attaching the email

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21 4
     In her opposition to the motion to reconsider, Warneck objects that this evidence is
   unauthenticated. However, she does not dispute the evidence’s authenticity, nor does she argue
22
   that it could not be presented in admissible form at trial. See Fed. R. Civ. P. 56(c)(2); Fraser v.
   Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003) (“At the summary judgment stage, we do not
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   focus on the admissibility of the evidence’s form. We instead focus on the admissibility of its
   contents.”). I therefore consider the evidence.

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 1 agreement, Sternberg had advised Warneck’s attorney that he rescinded all agreements, and thus

 2 the representation to the court that Sternberg agreed to accept service by email was knowingly

 3 false. Id. at 5, 69-73, 80. Further, a reasonable jury could find that Warneck, through her

 4 attorney, falsely told the California court that she could not locate Sternberg to serve him with a

 5 motion to continue a hearing in the California case. ECF No. 279-3 at 31-35, 42. Because

 6 Sternberg has presented evidence from which a reasonable jury could find that Warneck made

 7 statements to the court with knowledge of their falsehood, she has not met her burden at step one

 8 of the anti-SLAPP analysis, so I deny her motion as to the allegations that she made false

 9 statements to the court. See NRS §§ 41.637, 41.660(3)(a).

10                 2. Statements to Law Enforcement

11          In his abuse of process claim, Sternberg also alleged that Warneck made false statements

12 to “county investigators[] and/or Nevada Attorney General agents.” ECF No. 86-4 at 1. The

13 FAC does not identify these false statements. And Sternberg did not identify them in his

14 opposition to the anti-SLAPP motion. Instead, he requested discovery because the “information

15 necessary for [him] to meet or oppose” the motion was “in the possession of other parties in this

16 case and third parties.” ECF No. 132 at 11. Specifically, he noted that he has “no access to [his]

17 own court file” in California, and he “need[s] discovery to obtain Warneck’s and [her attorney’s]

18 communications with law enforcement.” Id. In his reply on reconsideration, Sternberg asserts

19 that Warneck transmitted her false statements in the custody proceedings to law enforcement for

20 an improper purpose. ECF No. 287 at 9.

21         Sternberg also renews his request for discovery because he does not have access to the

22 custody court case file or to Warneck’s statements to law enforcement. Sternberg states that if

23 given discovery, he expects to find, among other things, evidence that Warneck knowingly made



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 1 false statements to law enforcement to get him arrested, to seize the children, and to extend her

 2 custody of the children after she improperly removed them from Nevada before initiating the

 3 California custody case in bad faith.

 4         A party may move for summary judgment “at any time until 30 days after the close of all

 5 discovery.” Fed. R. Civ. P. 56(b). But when a party moves for summary judgment “so early in

 6 the litigation, before a party has had any realistic opportunity to pursue discovery relating to its

 7 theory of the case, district courts should grant any Rule 56[(d)] motion fairly freely.” Burlington

 8 N. Santa Fe R.R. Co. v. Assiniboine & Sioux Tribes of Fort Peck Rsrv., 323 F.3d 767, 773 (9th

 9 Cir. 2003). To prevail on a Rule 56(d) motion, the “requesting party must show: (1) it has set

10 forth in affidavit form the specific facts it hopes to elicit from further discovery; (2) the facts

11 sought exist; and (3) the sought-after facts are essential to oppose summary judgment.” Family

12 Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortgage Corp., 525 F.3d 822, 827 (9th Cir. 2008).

13         Sternberg filed his motion for reconsideration and reply brief under oath, so I treat them

14 as his Rule 56(d) affidavits. See ECF Nos. 279 at 9; 287 at 12. Sternberg has identified that he

15 hopes to elicit evidence of Warneck making misrepresentations to law enforcement similar to

16 those she made to the courts. It is plausible those facts exist if Warneck told law enforcement

17 the story of her disputes with Sternberg, and thus she may have made the same alleged

18 falsehoods about her residency and the arrangements she and Sternberg had made about where

19 the children would live. Additionally, she may have provided law enforcement with some of the

20 court documents that contain other alleged falsehoods. Sternberg has shown that such evidence

21 would stave off summary judgment on Warneck’s anti-SLAPP motion because it would show

22 she made knowingly false statements and thus would not be entitled to anti-SLAPP protection

23 under step one of that analysis. I therefore grant Sternberg Rule 56(d) relief with respect to his



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 1 allegations that Warneck lied to law enforcement, so I deny Warneck’s anti-SLAPP motion on

 2 this basis.

 3         C. Amendment and Fees

 4         Although I have granted Sternberg’s motion for reconsideration and denied Warneck’s

 5 anti-SLAPP motion, a few words about amendment and attorney’s fees are in order. First, this

 6 does not revive Sternberg’s abuse of process claim. I dismissed it under a Rule 12(b)(6)

 7 standard, and that ruling stands. See ECF No. 270 at 16-18. But in my prior order, I properly

 8 followed the federal Rules in allowing Sternberg to amend. See Verizon Delaware, Inc. v. Covad

 9 Commc’ns Co., 377 F.3d 1081, 1091 (9th Cir. 2004) (stating that “granting a defendant’s anti-

10 SLAPP motion to strike a plaintiff’s initial complaint without granting the plaintiff leave to

11 amend would directly collide with Fed. R. Civ. P. 15(a)’s policy favoring liberal amendment”).

12         In his motion for reconsideration, Sternberg notes that he received a letter from

13 Warneck’s attorney “seeking attorney fees regardless of this Court’s order granting [Sternberg]

14 leave to amend.” ECF No. 279 at 1. Sternberg stated that he “suspect[s] the issue would have

15 become moot after [he] filed [his] amended complaint.” Id. at 8. But amending his complaint

16 does not necessarily save Sternberg from the possibility of having to pay anti-SLAPP attorney’s

17 fees for a motion that was directed at his original complaint.

18         NRS § 41.670(1)(a) provides that “[i]f the court grants a special motion to dismiss filed

19 pursuant to NRS 41.660,” then “[t]he court shall award reasonable costs and attorney’s fees to

20 the person against whom the action was brought.” The Supreme Court of Nevada held in a

21 published decision that a defendant who prevails on an anti-SLAPP motion is entitled “to recover

22 reasonable attorney fees and costs incurred from the inception of the litigation, rather than just

23 those incurred in litigating the anti-SLAPP motion.” Smith v. Zilverberg, 481 P.3d 1222, 1230



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 1 (Nev. 2021). And it has indicated in an unpublished decision that amending the complaint will

 2 not save a litigant from having to pay fees on an anti-SLAPP motion directed at the original

 3 complaint. See Vannah v. L. Off. of Daniel S. Simon, No. 82058, 506 P.3d 1073, 2022 WL

 4 986138, at *1 (Nev. 2022) (“Because respondents[’] amended complaint was not filed before

 5 appellants filed their anti-SLAPP special motions to dismiss, the district court erred by relying

 6 on respondents’ amended complaint to deny appellants’ anti-SLAPP special motions to dismiss.

 7 On remand, the district court should conduct its anti-SLAPP analysis based on respondents’

 8 original complaint.”); Evans Hotels, LLC v. Unite Here! Loc. 30, No. 23-55692, 2025 WL

 9 17120, at *3 (9th Cir. Jan. 2, 2025) (stating that the “Verizon court did not address whether a

10 defendant may obtain fees and costs under [California’s anti-SLAPP statute] when it seeks to

11 strike an amended complaint” and concluding that “[w]here a plaintiff abandons its claims after

12 the defendant files an anti-SLAPP motion, the defendant is entitled to fees and costs if it would

13 have prevailed on the merits of its motion”). Thus, amendment alone will not necessarily

14 preclude the possibility that Sternberg may become liable for attorney’s fees.

15         I also note that Sternberg argues in his motion for reconsideration that the litigation

16 privilege does not apply to Warneck’s conduct because the “judicial action must be contemplated

17 in good faith.” ECF No. 279 at 4. He claims that Warneck did not contemplate or initiate the

18 California custody case in good faith because the case was aimed at prolonging her wrongful

19 removal of the children from Nevada. He cites Williams v. Lazer, 495 P.3d 93 (Nev. 2021) (en

20 banc) in support. It appears Sternberg is misreading Lazer’s statement that the absolute litigation

21 privilege “applies to communications made by either an attorney or a nonattorney that are related

22 to ongoing litigation or future litigation contemplated in good faith.” 495 P.3d at 100 (quotation

23 omitted). As the Supreme Court of Nevada stated elsewhere, the privilege applies “where a



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 1 judicial proceeding has commenced or is, in good faith, under serious consideration.” Clark

 2 Cnty. Sch. Dist. v. Virtual Educ. Software, Inc., 213 P.3d 496, 502 (Nev. 2009). Thus, the

 3 reference to good faith in Nevada’s absolute litigation privilege caselaw concerns whether a pre-

 4 litigation statement is made in relation to future litigation that is being contemplated in good

 5 faith. The requirement that litigation be under good faith contemplation is meant to allow the

 6 absolute litigation privilege to apply to pre-litigation statements, but not to allow parties to later

 7 claim they were contemplating litigation to benefit from the privilege. Fink v. Oshins, 49 P.3d

 8 640, 644 (Nev. 2002) (“When the defamatory communication is made before a judicial

 9 proceeding is initiated, it will be cloaked with immunity only if the communication is made ‘in

10 contemplation of initiation’ of the proceeding.”). But it is long settled under Nevada law that

11 even knowingly false and malicious statements made in the course of judicial proceedings are

12 absolutely privileged. Jacobs v. Adelson, 325 P.3d 1282, 1285 (Nev. 2014) (en banc).

13 III. CONCLUSION

14         I THEREFORE ORDER that plaintiff Michael Sternberg’s motion for reconsideration

15 (ECF No. 279) is GRANTED.

16         I FURTHER ORDER that my order granting defendant Shelley Warneck’s motion to

17 dismiss (ECF No. 270) is modified to deny the anti-SLAPP portion of that motion (ECF No.

18 124). The order (ECF No. 270) is not modified in any other respect.

19         DATED this 22nd day of May, 2025.

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                                                   ANDREW P. GORDON
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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